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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7       COMMUNITY LEGAL SERVICES IN                      Case No. 25-cv-02847-AMO
                                           EAST PALO ALTO, et al.,
                                   8                   Plaintiffs,                          ORDER DENYING MOTION TO STAY
                                   9                                                        AND MOTION TO DISSOLVE
                                                 v.                                         TEMPORARY RESTRAINING ORDER
                                  10
                                           UNITED STATES DEPARTMENT OF                      Re: Dkt. Nos. 38, 57
                                  11       HEALTH AND HUMAN SERVICES, et al.,
                                                       Defendants.
                                  12
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                                  13           In this Administrative Procedure Act (“APA”) case, the Court earlier granted a Temporary

                                  14   Restraining Order (“TRO”). Before the Court are two motions from Defendants United States

                                  15   Department of Health and Human Services, Office of Refugee Resettlement, and Department of

                                  16   the Interior (collectively, the “Government”) related to the TRO: a motion to dissolve the TRO

                                  17   (ECF 38) and a motion to stay the TRO pending the Government’s appeal to the Ninth Circuit

                                  18   Court of Appeals (ECF 57). The matters are fully briefed and suitable for decision without oral

                                  19   argument. Accordingly, the hearings on these motions set for April 23, 2025,1 and May 22, 2025,

                                  20   are VACATED. See Civil L.R. 7-1(b), Fed. R. Civ. Pro. 78(b). Having read the papers filed by

                                  21   the parties and carefully considered their arguments therein, as well as the relevant legal authority,

                                  22   the Court hereby DENIES both motions for the following reasons.

                                  23   I.      BACKGROUND
                                  24           This lawsuit seeking relief under the Administrative Procedure Act related to the

                                  25   Government’s termination of funding allocated to legal services for unaccompanied children in

                                  26   immigration proceedings was filed by on March 26, 2025, by 11 non-governmental organizations.

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                                        The hearing on Plaintiffs’ motion for preliminary injunction remains on calendar for 2:00 p.m.
                                       PST on April 23, 2025. See ECF 48.
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                                   1   See Compl. (ECF 1). The Plaintiffs are Community Legal Services in East Palo Alto, Social

                                   2   Justice Collaborative, Amica Center for Immigrant Rights, Estrella del Paso, Florence Immigrant

                                   3   and Refugee Rights Project, Galveston-Houston Immigrant Representation Project, Immigrant

                                   4   Defenders Law Center, National Immigrant Justice Center, Northwest Immigrant Rights Project,

                                   5   Rocky Mountain Immigrant Advocacy Network, and Vermont Asylum Assistance Project

                                   6   (collectively, “Plaintiffs”).

                                   7           On March 27, 2025, Plaintiffs filed a motion for temporary restraining order (“TRO”) and

                                   8   preliminary injunction. ECF 7. The Court issued an order setting a hearing, as well as a deadline

                                   9   for the Government’s written response to Plaintiffs’ TRO motion. ECF 17. On March 31, 2025,

                                  10   in accordance with the schedule set on March 27, the Government filed its opposition to Plaintiffs’

                                  11   motion. See ECF 24. On April 1, 2025, the parties appeared for a hearing on Plaintiffs’ motion.

                                  12   ECF 30. After taking the matter under submission, the Court granted Plaintiffs’ motion, issued a
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                                  13   TRO, and set an expedited briefing schedule on Plaintiffs’ request for a preliminary injunction.

                                  14   ECF 33. The TRO provided,

                                  15                   Defendants are ENJOINED from withdrawing the services or funds
                                                       provided by the Office of Refugee Resettlement (“ORR”) as of
                                  16                   March 20, 2025, under the Trafficking Victims Protection
                                                       Reauthorization Act of 2008 (“TVPRA”), 8 U.S.C. § 1232(c)(5),
                                  17                   and ORR’s Foundational Rule, 45 C.F.R. § 410.1309(a)(4),
                                                       particularly ORR’s provision of funds for direct legal representation
                                  18                   services to unaccompanied children. This injunction precludes
                                                       cutting off access to congressionally appropriated funding for its
                                  19                   duration.
                                  20   ECF 33 at 7.

                                  21           After the grant of the TRO, several motions were filed. Plaintiffs filed their motion for

                                  22   preliminary injunction (ECF 37), as well as two motions to enforce the TRO (ECF 40, ECF 53).

                                  23   The Government moved to dissolve the TRO (ECF 38) and for recusal of a district judge pursuant

                                  24   to Title 28 U.S.C. § 455 (ECF 47). Finding that consideration of the recusal motion constituted

                                  25   good cause, the Court extended the TRO for an additional 14 days in accordance with Federal

                                  26   Rule of Civil Procedure 65(b)(2), set a briefing schedule on the recusal motion, and continued the

                                  27   hearing on Plaintiffs’ motion for preliminary injunction. See ECF 48. The Government filed an

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                                   1   appeal of the TRO following its extension. ECF 56. The Government additionally moved to stay

                                   2   the TRO pending that appeal. ECF 57.

                                   3          Following complete briefing, the Court denied the Government’s motion for recusal. ECF

                                   4   69. A panel of the Ninth Circuit subsequently determined that the TRO was not appealable and

                                   5   dismissed the Government’s appeal, see Cmty. Legal Services in East Palo Alto et al. v. Dept.

                                   6   Health & Hum. Servs. et al., Case No. 25-2358, Order (9th Cir. Apr. 18, 2025), rendering the

                                   7   Government’s motion for a stay pending appeal (ECF 57) moot.

                                   8   II.    DISCUSSION
                                   9          Remaining before the Court is the Government’s motion to dissolve the TRO. A party

                                  10   seeking dissolution of a TRO or preliminary injunction must show (1) a significant change in fact

                                  11   or law; and (2) that in light of the significant change, the injunction should be dissolved or

                                  12   modified under the legal standard that governed the issuance of the injunction in the first place.
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                                  13   See Karnoski v. Trump, 926 F.3d 1180, 1198 (9th Cir. 2019) (citing Sharp v. Weston, 233 F.3d

                                  14   1166, 1170 (9th Cir. 2000)). “Whether an injunction should be dissolved, just like whether it

                                  15   should be granted, is ‘guided by’ the Winter factors.” Morning Star, LLC v. Canter, Tr. of Ctr.

                                  16   Schoen Fam. Tr. U/D/T Mar. 17, 2015, Case No. 22-56119, 2023 WL 5092764, at *1 (9th Cir.

                                  17   Aug. 9, 2023) (citing Karnoski, 926 F.3d at 1198). The “Winter factors” require a party seeking

                                  18   preliminary injunctive relief must show: (1) a likelihood of success on the merits, (2) a likelihood

                                  19   of irreparable harm to the moving party in the absence of preliminary relief, (3) the balance of

                                  20   equities tips in the favor of the moving party, and (4) an injunction is in the public interest. Winter

                                  21   v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20 (2008); see Order (ECF 33) at 4. “The first two

                                  22   factors . . . are the most critical.” Nken v. Holder, 556 U.S. 418, 434 (2009). Importantly, a

                                  23   party’s subsequent challenge to preliminary injunctive relief “must rest on grounds that could not

                                  24   have been raised before.” Alto v. Black, 738 F.3d 1111, 1120 (9th Cir. 2013) (citation omitted).

                                  25          The Government contends that the Supreme Court’s brief order granting a stay of a TRO in

                                  26   Department of Education v. California, 604 U.S. ----, 145 S. Ct. 966 (2025), dictates a stay here.

                                  27   In Department of Education, the Supreme Court considered whether to grant a stay of a district

                                  28   court’s TRO. Id. The state government plaintiffs challenged the Department of Education’s
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                                   1   termination of contracts for the payment of certain educational grants to the respective states. Id.

                                   2   at 1. The district court issued a TRO enjoining the Government from terminating the grants and

                                   3   requiring “the Government to pay out past-due grant obligations and to continue paying

                                   4   obligations as they accrue.” Id. at 1. The Supreme Court granted the Government’s request for a

                                   5   stay of the TRO on the basis that the district court “lacked jurisdiction to order the payment of

                                   6   money under the APA.” Id. at 2. The Court further held, based in significant part on the relief

                                   7   pursued by the plaintiffs, that the Government would likely show the district court lacked

                                   8   jurisdiction over the contractual claims calling for payment, as those claims are committed to the

                                   9   Court of Federal Claims pursuant to the Tucker Act. Id. at 2 (citing 28 U.S.C. § 1491(a)(1)).

                                  10          The Government argues that Department of Education applies with equal force to

                                  11   Plaintiffs’ APA claims related to the termination of funding for legal services for unaccompanied

                                  12   children in immigration proceedings. Not so. Under the standards governing dissolution of
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                                  13   preliminary injunctive relief, the Supreme Court’s order does not impact the preliminary relief

                                  14   granted by this Court.

                                  15          First, Department of Education does not represent a significant change in law. Cf.

                                  16   Karnoski, 926 F.3d at 1198. To the contrary, the Government’s consistent invocation of the

                                  17   Tucker Act to assert that this Court lacks jurisdiction, see, e.g., Gov’t Opp. (ECF 24) at 11-13,

                                  18   demonstrates that the same legal principles regarding the APA’s limited waiver of sovereign

                                  19   immunity have not changed. Indeed, the Government fails to identify anything different about the

                                  20   law following the Supreme Court’s order, much less a significant change sufficient to warrant

                                  21   dissolution of earlier-granted injunctive relief. This shortcoming alone, on the first step under

                                  22   Karnoski, requires denial of the Government’s motion to dissolve the TRO.

                                  23          Second, even if Department of Education was a significant change in law, it does not apply

                                  24   to the facts of this case. Here, Plaintiffs’ claims do not arise merely due to a breach of contractual

                                  25   obligations. The TRO considered in Department of Education “enjoin[ed] the Government from

                                  26   terminating various education-related grants” and “require[d] the Government to pay out past-due

                                  27   grant obligations and to continue paying obligations as they accrue.” Dep’t of Educ., 145 S. Ct. at

                                  28   968. The Supreme Court found the APA likely inapplicable in that case because the plaintiffs
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                                   1   there sued “to enforce a contractual obligation to pay money” on the grant contracts, implicating

                                   2   jurisdictional concerns under the Tucker Act. Id., at 968 (citation omitted). Plaintiffs have no

                                   3   contract with the Government. See Gov’t Opp. to TRO (ECF 24) at 5-6; Biswas Decl. (ECF 24-1)

                                   4   ¶ 4 (stating that the Government’s contract with Acacia Center for Justice does not establish a

                                   5   direct relationship with the Plaintiff sub-awardees). Instead, Plaintiffs bring suit to enforce a

                                   6   statute (the TVPRA) and regulation (the Foundational Rule), and they pursue injunctive relief to

                                   7   enforce those provisions rather than for relief sounding in contract. See Mot. Prelim. Inj. (ECF

                                   8   37) at 15-17. Indeed, the substance of Plaintiffs’ suit is to obtain injunctive, forward-looking

                                   9   relief that Defendants meet their obligations under the TVPRA and the Foundational Rule to

                                  10   provide legal representation to “all” unaccompanied children “to the greatest extent practicable.”

                                  11   8 U.S.C. § 1232(c)(5); 45 C.F.R. § 410.1309(a)(4). As recognized by the Supreme Court, “[o]ur

                                  12   cases have long recognized the distinction between an action at law for damages . . . and an
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                                  13   equitable action for specific relief . . . . The fact that a judicial remedy may require one party to

                                  14   pay money to another is not a sufficient reason to characterize the relief as ‘money damages.’ ”

                                  15   Bowen v. Massachusetts, 487 U.S. 879, 893 (1988) (citation omitted). That the Plaintiff

                                  16   organizations and others may receive payment to fund their continued legal representation of

                                  17   unaccompanied children in accordance with the TVPRA and the Foundational Rule as part of the

                                  18   relief pursued here does not transform the injunctive relief sought into a claim for money damages

                                  19   at law. See id. The relief sought here does not sound in contact merely because the Government

                                  20   characterizes it so.

                                  21           The Court in Department of Education also held that the plaintiffs – state grant recipients –

                                  22   had not demonstrated irreparable harm sufficient to preclude a stay because they represented “that

                                  23   they have the financial wherewithal to keep their programs running” without the grants, such that

                                  24   “any ensuing irreparable harm would be of their own making” if they declined to keep the

                                  25   programs running. Dep’t of Educ., 145 S. Ct. at 969. That runs counter to the findings here – that

                                  26   Plaintiffs will be forced to abandon much of their mission-driven work if the Government fails to

                                  27   comply with the TVPRA and Foundational Rule, and this constitutes irreparable harm in itself.

                                  28   See, e.g., TRO (ECF 33) at 5-6 (explaining the irreparable harms Plaintiffs face and citing
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                                   1   declarations). These Plaintiffs do not “have the financial wherewithal to keep their programs

                                   2   running” as demonstrated through staff layoffs as well as the diversion of funding from other

                                   3   programming. Id. at 5.

                                   4          The Government’s sole basis for dissolution of the TRO is the purported applicability of

                                   5   Department of Education to this case. The Government fails to identify any facts or law that

                                   6   would alter the Court’s initial balancing of the Winter factors, but as discussed above, the Court

                                   7   continues to find the first two factors, likelihood of success and irreparable harm, satisfied based

                                   8   on this record. Having found that Department of Education (1) is not a significant change of law

                                   9   and (2) that even if it were, Department of Education does not require a different outcome in this

                                  10   case given the harm faced by Plaintiffs, the injunctive relief sought, and the inapplicability of the

                                  11   Tucker Act, the Government fails to establish that the TRO should be dissolved.

                                  12   III.   CONCLUSION
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                                  13          For the foregoing reasons, the Court DENIES Defendants’ motion to dissolve the TRO.

                                  14   The Court DENIES Defendants’ motion to stay the TRO pending appeal as moot. The TRO

                                  15   remains in effect, and the Court will hear Plaintiffs’ motion to enforce the TRO as scheduled.

                                  16

                                  17          IT IS SO ORDERED.

                                  18   Dated: April 21, 2025

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                                                                                                     ARACELI MARTÍNEZ-OLGUÍN
                                  21                                                                 United States District Judge
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